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Copyright Transparency Report
At YouTube, supporting the free ﬂow of ideas and creativity is core to our mission to give
everyone a voice and show them the world. With this in mind, we build tools that empower
users to access, create, and share information like never before — giving them more choice,
opportunity, and exposure to a diversity of viewpoints. Today, over 2 billion logged-in users
come to YouTube every month and more than 500 hours of video are uploaded every minute.

YouTube has also given rightsholders opportunities to earn money from both their own and user-generated content through
our subscription-based and advertising-supported models. Our partnerships with major record labels, performing rights
organizations, a multitude of independent labels and music publishers, television networks, and movie studios generate
substantial revenues for the creative industries. Over the last three years, we’ve paid more than $30 billion to creators, artists,
and media companies.

YouTube has over 50 million Premium and Music subscribers, including trialers, across 95 countries as of September 2021,
and because of Content ID, YouTube has created an entirely new revenue stream from ad-supported, user generated content —
paying more than $7.5 billion to rightsholders from ads alone as of December 2021, from content claimed and monetized
through the tool.

                                To creators, artists, & media                                          Ad revenue paid to rightsholders as of
                $30B            companies over the 3 years
                                prior to Nov 2020
                                                                          $7.5B                        December 2021 from content claimed
                                                                                                       and monetized through Content ID




YouTube’s Copyright Management Suite
There are three main tools that make up our Copyright Management Suite: the webform, Copyright Match, and Content ID. All
of these tools use technology to prevent the reupload of matching content. We have invested hundreds of millions of dollars to
develop and operate these tools.




                                       Webform                       Copyright Match Tool                                        Content ID
                             Users who hold few copyrights         YouTube channels and other                        Movie studios, service providers, and
                             and scarcely ﬁnd it on YouTube     creators that are prone to reposting                  other publishers that have heavy
                                                                    of their copyrighted content                      reposting of copyrighted content

                                       Infrequent                          Occasional                                               Scaled
  Frequency of Claims             (A few times a year)                (A few times a month)                                         (Daily)

  Resources                               Self                                  Self                                 Dedicated team w/ expert knowledge

  Block Reuploads

  Auto-Detect Reuse


                                                                Be in YouTube Partner Program or                     Demonstrated need of scaled tool,
  Eligibility                      Open to everyone               demonstrate short history of                   understanding of copyright, and resources to
                                                                           takedowns                             manage complex automated matching system


                                        Everyone                            2+ million
  Access                                                                    channels
                                                                                                                                9K+ partners
                                   2+ billion channels

  Abuse                                   High                                 Low                                                   Low

  Automation                              Low                                Medium                                                  High




                                                                                                            YouTube Copyright Transparency Report H1
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                                       Webform
                                       All rightsholders have access to the webform, which we’ve built as a streamlined and eﬃcient way
                                       to submit copyright removal requests, and it is available in 80 languages. It is designed for
                                       infrequent use, such as creators who hold few copyrights and occasionally ﬁnd their content on
                                       YouTube. For the vast majority of rightsholders, the webform is the only tool they need.
                                       Nevertheless, creators who’ve used the webform to remove videos from YouTube have access to
                                       powerful features, including the ability to ask YouTube to automatically prevent copies of the
                                       removed videos from being reuploaded. Copyright Match Tool will also ﬁnd potential copies of
                                       videos removed through the webform and provide those matches to the claimant.




    *
        A portion of the interface for the webform



While partners with access to Content ID can convert any match (see Content ID below) into a copyright removal request,
some of these partners have access to a set of Studio Content Manager tools and among them is an “Enterprise Webform”
that operates similarly to the public webform available to all channels. Additionally, a small number of rightsholders and
anti-piracy vendors who do not have access to Content ID have access to this Enterprise Webform. They are known as
members of the Content Veriﬁcation Program (CVP.) While these are different entry points, the Enterprise Webform operates
like the public webform where rightsholders or their representatives search YouTube and manually ﬁle a takedown request for
content that potentially infringes their copyright.




                                       Copyright Match Tool
                                       After extensive collaboration with creators, we found there was a segment of rightsholders who
                                       experienced a higher amount of reposting of their copyrighted content and needed to submit more
                                       frequent copyright removal requests. With this in mind, we built the Copyright Match Tool to safely
                                       bring the power of Content ID matching technology (described in detail below) to more creators and
                                       rightsholders.

The Copyright Match Tool is available to any YouTube user who’s submitted a valid copyright removal request through the
webform. Once a takedown request is approved, the Copyright Match Tool starts scanning YouTube uploads for potential
matches to the videos reported in the removal request. The tool surfaces these potential matches to the claimant so they can
decide what action to take next.

For creators in the YouTube Partner Program (YPP), or any channel that’s ﬁlled out the copyright management tools application
and shown a need for an advanced rights management tool, the Copyright Match Tool will scan for reuploads of their videos
on other YouTube channels. Creators who have access to this feature of the Copyright Match Tool simply need to be the ﬁrst to
upload a video to YouTube (they can upload as public, private, or unlisted).




                                                                                                     YouTube Copyright Transparency Report H1
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For each video match, the Copyright Match Tool shows the user information on total views, the


                                                                                                                                 2M+
channel that uploaded it, what percentage of the video is made of their content, and a
few screenshots of the video. We also label the matches to alert claimants if the match has
different video from their upload but the same audio, or if it’s only a partial match, meaning their
                                                                                                                                Channels on YouTube
content may have been sampled but the video is not a simple re-upload. From this interface,
                                                                                                                                 have access to the
users can choose to archive the match and leave the video up, ﬁle a takedown request (with the                                  Copyright Match Tool†
option to ask YouTube to automatically prevent copies), or contact the uploader.




        *
            A sample of the interface for Copyright Match Tool. Not actual data.




                                           Content ID
                                           This is our solution for those with the most complex rights management needs, such as movie
                                           studios, record labels, and collecting societies. Smaller, independent creators who do not meet the
                                           eligibility criteria for Content ID can still access these features through a number of service
                                           providers*. These service providers manage rights through the system on behalf of others, on a
                                           daily basis.

YouTube and its Content ID partners enter into an agreement that sets the parameters for the use of the tool and allows
YouTube to make appropriate use of the copyright owner's content for the purpose of making Content ID function. Partners
provide YouTube with reference ﬁles for the works they own, along with metadata such as the title and detailed ownership
rights. Based on these references, YouTube creates digital "ﬁngerprints" for the copyright owner's works, and then conducts
automated scans of the platform to determine when content in an uploaded video matches the reference content.

                                           Copyright owners and service providers use YouTube's Studio Content Manager—the interface for
                                           managing the use of their content on the platform—to instruct the system to either block, monetize,
                                           or track matching content. Rightsholders can choose which policy to apply to a claim: they can

     90%                                   leave it up and make money from it, leave it up and track viewing statistics, or block it from being
                                           viewed. In the ﬁrst half of 2022, rightsholders chose to monetize over 90% of all Content ID claims.
                                           The Content Manager interface provides highly granular access control to assist users who have
      Content ID claims
     that are monetized                    speciﬁc, complex, or even conﬂicting ownership rights. For example, rights and policies may be
                                           speciﬁc to certain countries (e.g., a video may be monetized in one country, and blocked or tracked
                                           in another).

Reference ﬁles that reﬂect ﬂawed or conﬂicting ownership data can create issues among Content ID partners. Content ID is
designed to address these ownership conﬂicts among partners and manage disputes with uploaders. The system creates a
queue of pending claims, for example, when the system is uncertain whether a claim should be made. As a result, Content ID
requires users to make a high level of operational investment, without which other rightsholders could have their rights
impaired and lawful expression could be inappropriately impacted.

*
    https://servicesdirectory.withyoutube.com/                                                            YouTube Copyright Transparency Report H1
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Everyone Has Access
YouTube has built a suite of Copyright Management tools for all rightsholders, and matches them with the appropriate tool based on the
scale of their copyrighted work on YouTube and the resources they’ve dedicated to operate our tools.

The date range for the data in this report is January 2022 through June 2022. A full data collection methodology is included at the end of the report.




            Key points

                              Webform: In the ﬁrst half of 2022, over 65% of claimants who claimed or requested removal of content through
                              YouTube's Copyright Management Suite did so through the copyright webform, which is designed to be an easy
                              option for those with infrequent needs.


                              Copyright Match Tool: As of June 2022, over 2 million channels have access to the Copyright Match Tool, which
                              we built for those with more frequent copyright needs. It automatically detects copies of content uploaded to
                              their channel. Following the expansion of the Copyright Match Tool in October 2021 to more users, now anybody
                              with a YouTube account who is in the YouTube Partner Program or has submitted a valid copyright takedown
                              notice is eligible for Copyright Match Tool access.


                              Content ID: Content ID is for enterprise partners (such as movie studios, record labels, and collecting societies)
                              and service providers who operate at an entirely different scale — over 9,000 partners have access and many
                              have a dedicated team just to operate the tool.
                              The scale of copyright needs for these partners is in a class all by itself, and their content — today’s hit song,
                              scenes from a new movie or the latest viral video — is at the heart of creative reuse on YouTube. Claims from
                              Content ID partners represent over 98% of all copyright actions on YouTube.


            Eligibility: Channels in YPP automatically gain access to the Copyright Match Tool and see matches to their uploads. Those
            who have submitted a valid copyright removal request through our webform also gain access to the Copyright Match Tool
            and see matches for videos they've removed through the webform. They can also apply for all scaled copyright tools through
            our Copyright Management tools application*.

            A note on terminology: In this report, we distinguish between tools to submit removal requests (webform and Copyright Match Tool), and Content ID, which places a
            claim on a video. 'Claim' will always refer to Content ID actions, whereas 'removal request' will refer to the webform and Copyright Match Tool.




The following data demonstrates the relationship between how many people have access to a particular tool, how many
people use that tool, and the scale of their need to manage their copyright on YouTube. We match rightsholders to the tool that
best meets their needs, based in part on how much content on YouTube is subject to their copyright. The public webform is
available to everyone, and used by more people than any other tool.

Those in the YouTube Partner Program and those who have used our public webform successfully become gain access to the
Copyright Match Tool and thus have the beneﬁt of the most requested feature of Content ID — the ability to automatically
detect potentially infringing content. This feature helps users better detect and manage their copyright through a user-friendly
interface.

Content ID partners are managing content at an entirely different scale and sophistication. Though they represent the smallest
number of users for any of our tools, their actions represent over 98% of all copyright actions on YouTube. This is because their
content — today’s hit song, scenes from a new movie or the latest viral video — is at the heart of creative reuse on YouTube and
is the most likely to be reuploaded.




*
    https://support.google.com/youtube/contact/copyright_management_tools_form                                                     YouTube Copyright Transparency Report H1
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                                                                                  Exhibit 1.1 — Access and Usage of Copyright Tools
                                                                                  The chart shows the number of rightsholders who have
                                                                                  access to each tool as of June 2022†, along with how many
                                                                                  actively used the tool in the ﬁrst half of 2022.


                                                                                  In some cases, an individual may make copyright removal
                                                                                  requests or make claims using multiple tools (for example,
                                                                                  if they are granted access to Copyright Match Tool after
                                                                                  making successful copyright removal requests via the
                                                                                  webform.) In these cases, they are counted as users of
                                                                                  both tools.*




                                                                                  Exhibit 1.2 — Copyright Actions by Tool
                                                                                  This chart shows unique claims or copyright removal
                                                                                  requests made in the ﬁrst half of 2022. Note that some
                                                                                  videos may be subject to multiple claims or removal
                                                                                  requests, such as when an individual video features more
                                                                                  than one copyrighted asset, or multiple parties share
                                                                                  ownership.
                                                                                  A Content ID claim can convert to a copyright removal request at the
                                                                                  claimant's request. In these cases, we have counted them as two
                                                                                  separate actions: one Content ID claim and one copyright removal
                                                                                  request.




Eligibility and access

Every logged-in YouTube user has access to the webform, which we built to be a streamlined and eﬃcient way to submit
claims. YouTube has invested considerable resources into making the webform easy to use and effective for the vast majority
of use cases.

We automatically offer Copyright Match Tool access to channels in the YouTube Partner Program. For these channels, the
tool ﬁnds potential matches of their uploads to YouTube. In October 2021, we extended automatic access to anyone who
submits valid copyright removal requests through our webform — for these cases, the tool detects and surfaces potential
matches of videos removed by the rightsholder. Rightsholders can also apply for all copyright tools via YouTube’s Copyright
Management tools application.* The eligibility criteria for each copyright management tool is described in YouTube’s Help
Center.**

A history of sending YouTube complete and valid copyright removal requests to remove allegedly infringing content serves as
the primary indicator that an applicant both needs scaled tools and understands copyright. Abuse of our webform, or
otherwise invalid use due to a lack of understanding about copyright, is very common.

When YouTube responds to an applicant who completes YouTube’s Copyright Management tools application, YouTube
always explains the tools available to a given applicant. We also indicate that, if the applicant believes they should be eligible
for additional tools, they are welcome to apply again in 90 days. In the interim, the best course of action for any rightsholder is
to make use of the tools we do provide them in order to illustrate that there exists an issue for which they need a more scaled
tool to fully address, that they own rights in the content, and that they understand copyright removal processes. If an
applicant wishes to appeal the initial decision and provide additional information for us to consider, they may respond directly
to the email.


*
    https://support.google.com/youtube/contact/copyright_management_tools_form;
**
     https://support.google.com/youtube/answer/9245819?hl=en                                    YouTube Copyright Transparency Report H1
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Creating a Balanced Ecosystem
As we work to expand access to more powerful tools in the YouTube Copyright Management Suite, we must balance the need
to protect creators, viewers, and other rightsholders from the signiﬁcant disruption that can result from the abuse or otherwise
invalid use of our tools.

The date range for the data in this report is January 2022 through June 2022. A full data collection methodology is included at the end of the report.




          Key points
          YouTube takes steps to prevent abuse or otherwise invalid use of our rights management tools, and also empowers uploaders
          to push back on requests and claims they believe are wrongful. As is demonstrated by our public copyright webform, when we
          make a tool available to everyone without any eligibility requirements, we see high levels of abuse. This is why we must
          balance access to tools against the signiﬁcant disruptions to the ecosystem they can cause.

                                         Over 5% of videos requested for removal through the public webform in the ﬁrst half of 2022 were the

                20x                      subject of abusive copyright removal requests‡, meaning these requests were assessed by our review
                                         team as a likely false assertion of copyright ownership. This abuse rate is more than 20 times higher
            Higher abuse rate in
         webform than in takedown
                                         than in other tools with limited access, like the Copyright Match Tool and Enterprise Webform, where it
          tools with limited access      is 0.3% or lower‡.

          Similarly, the limited availability of Content ID also helps to limit abuse of that tool. This is especially important because
          claiming can happen automatically, and while one copyright request removal made from the webform impacts only one (or a
          handful) of videos, just one invalid reference ﬁle in Content ID can impact thousands of videos and users, stripping them of
          monetization or blocking them altogether.

          Uploaders are empowered to push back on removals they believe are invalid by ﬁling counter notiﬁcations, and they can push
          back on Content ID claims by disputing the claim. Like abuse, pushback from uploaders occurs most often on those tools that
          are available to more people. Uploaders have ﬁled counter notiﬁcations in response to over 5% of removal requests from the
          ﬁrst half of 2022 made through the webform, whereas it’s fewer than 2% for both Enterprise Webform and for Copyright Match
          Tool‡. Fewer than 1% of all Content ID claims made in the ﬁrst half of 2022 have been disputed ‡. Over 55% of those disputes
          resolved in favor of the uploader, either because claimants voluntarily released the claim or they did not respond to the dispute
          in time‡.



Invalid requests often occur when someone incorrectly submits a copyright removal request due to a lack of understanding of
either copyright law or our tools. Invalid requests can take many forms, such as ﬁling a copyright request for a trademark or
privacy issue, or simply failing to provide the necessary information required to constitute a valid copyright removal request.
For Content ID partners, this occurs when partners unintentionally deliver low-quality reference ﬁles that contain incomplete
metadata, insuﬃciently unique content, or pieces of content that they don’t own exclusively — such as a news broadcast that
contains public domain footage, or a song that uses a licensed beat.

Abuse, on the other hand, occurs when someone is deemed by our review team to have intentionally and maliciously used our
tools in an attempt to remove content from YouTube through a likely false assertion of copyright ownership. Sometimes this
takes the form of political actors attempting to censor political speech or companies stiﬂing criticism of their products or
practices. Other times individuals try to use our copyright processes to bully other creators, or to remove videos they may see
as competing for the same audience.

Regardless of the intent, both invalid requests as well as abuse can cause signiﬁcant disruptions to all members of the
YouTube ecosystem — creators, viewers, and rightsholders. Just one bad copyright webform notice can result in a handful of
videos being temporarily removed from YouTube. In Content ID the impact is multiplied due to its automated nature; one bad
reference ﬁle can impact hundreds or even thousands of videos across the site. In one highly-publicized instance, a news
channel uploaded public domain footage from NASA of a Mars rover and ended up making inappropriate claims against all

                                                                                                                                   YouTube Copyright Transparency Report H1
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other news channels and creators using the same footage, even against the NASA channel itself.

We have dedicated teams working to detect and prevent abuse or otherwise invalid use of each of our tools. We rely on a
combination of humans and technology to detect suspicious behavior, request additional information where necessary, and
remove reference ﬁles that are low-quality or invalid. We take abuse of our tools seriously—we terminate tens of thousands of
accounts each year that attempt to abuse our copyright tools.


Common types of abusers




             Impersonator                             Reputation Manager                              Competitor                                      Backdater
       Uses a fake name/email                       Uses Copyright webform to                   Submits requests on                           Pretends to have created
       address to get away with                         remove allegedly                     legitimate content to target                    content ﬁrst (backdates) in
       submitting fake requests                        defamatory content                          their competitors                           order to remove other
                                                                                                                                                  people’s content




YouTube responses to copyright removal requests
Because it is available to everyone, our copyright webform is subject to a signiﬁcant amount of abuse or otherwise invalid use.
We have a team dedicated to processing copyright removal requests, and when necessary, we request additional information
or deny the request altogether. Below you can see real world examples, anonymized for the report, to see how we respond to
complaints we received.


                           Possible responses by YouTube to a copyright removal request, with examples
Remove: The URL was removed from YouTube                                                 Examples:
                                                                                         A removal request is accepted by YouTube and the video is removed for copyright under
                                                                                         the owner name given in the request.

                                                                                         A removal request is received for a video that’s already been removed from YouTube,
                                                                                         either by the uploader or for violating another policy.

Abuse: A webform submission that is deemed by our review team to be a likely false       Examples:
assertion of copyright ownership.                                                        An individual falsely claiming to be a celebrity or a large company.

                                                                                         Creator trying to take down a video competing for the same audience.

Invalid Request: There are a number of reasons that requests may be ruled                Examples:
invalid. This may be because the user submitting the request did not provide             A fan requests a takedown on behalf of a creator, but doesn’t appear to be authorized to
necessary information even after a clariﬁcation request from YouTube, or are             make claims on their behalf.
trying to address a non-copyright issue (like trademark or other content
moderation issues) through the copyright form.                                           An individual does not provide necessary information to process a request, for example
                                                                                         they are not suﬃciently clear about what content in the video they are claiming, or fail to
                                                                                         provide the URL of the video that they claim is infringing.

                                                                                         A company asserts their logo is infringed, but the logo is a plain wordmark that is
                                                                                         appropriate for a trademark removal notice.


Copyright Exceptions: Before submitting a copyright removal request, rightsholders       Examples:
must consider whether fair use, fair dealing, or similar exceptions to copyright may     A company submits a removal request for a video that uses excerpts of their commercial
protect the video they wish to remove. In some cases, YouTube asks claimants to          to criticize their business practices.
conﬁrm they’ve done this analysis. If claimants do not adequately respond, the video
is not removed.


Other: In some cases, we hold a request for further review, send a one-off response,     Examples:
or follow a slightly different process because the content was provided to us under      A movie producer submits a takedown request for a movie, but the movie's distributor
license. In these situations, we've categorized them as 'Other.' We also categorize as   (who works with the producer) licensed that video to YouTube.
'Other' when we have inconclusive or insuﬃcient data.



                                                                                                                            YouTube Copyright Transparency Report H1
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YouTube actions in response to copyright removal requests by tool




Exhibit 2.1 — Removal request via webform         Exhibit 2.2 — Removal request via Enterprise      Exhibit 2.3 — Removal request via Copyright
This chart shows the video-level result of each   Webform                                           Match Tool
copyright removal request made in the ﬁrst half   This chart shows the video-level result of each   This chart shows the video-level result of each
of 2022 through the webform‡.                     copyright removal request made in the ﬁrst half   copyright removal request made in the ﬁrst half of
                                                  of 2022 through the Enterprise Webform‡.          2022 through the Copyright Match Tool‡.




How YouTube protects against wrongful claims

Content ID claims
We also have a dedicated team that monitors for bad reference ﬁles delivered to Content ID. The team uses automated
systems along with manual review to detect reference ﬁles (or segments of reference ﬁles) that may be causing an issue, and
requests partners review them.

The rightsholder can choose to:
-     Exclude the segment from the larger reference ﬁle
-     Remove the entire reference ﬁle
-     Ask our dedicated abuse team to re-review the suspicious ﬂag

If the partner does not respond, the reference ﬁle is marked as invalid and removed from Content ID. When a reference ﬁle (or
a segment) is removed from Content ID, all claims associated with that reference ﬁle (or segment) are released.

There are multiple reasons this can happen, but most often it occurs when partners deliver non-exclusive content, such as
content in the public domain or content they’ve licensed but don’t own. For example, an owner of a late night talk show may
deliver a reference ﬁle of an entire episode of their show, which included a clip of a ﬁlm that one of their interviewees is
promoting, and that clip may inadvertently claim the ﬁlmmaker’s oﬃcial upload of the ﬁlm. Alternatively, reference ﬁles may
capture indistinct sound effects, nature sounds, or content that is in the public domain and not subject to copyright.

Unlike webform requests that are rejected, which only affect one or a handful of videos, the impact of reference ﬁles in Content
ID is multiplied.




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How YouTube empowers uploaders to ﬁght wrongful claims

Counter notiﬁcations
Beyond the work YouTube does to prevent abuse or otherwise invalid use, there are also disputes that can only be resolved
between rightsholders. YouTube is not in a position to know whether re-use of content has been authorized by a license,
whether ownership is shared by multiple parties, or held by different parties in different regions. In these cases, recipients of
copyright removal requests or Content ID claims have the ability to counter notify or dispute, respectively.

If an uploader believes they have the required license to use content or are subject to a copyright exception such as fair use,
they can ﬁle a counter notiﬁcation. In the ﬁrst half of 2022, uploaders submitted counter notiﬁcations in response to over 5% of
removal requests made through the webform, whereas it's fewer than 2% for both Enterprise Webform and for Copyright
Match Tool‡. YouTube is not in a position to make determinations that require a detailed factual or legal assessment (such as
ownership determinations) as we are not a court of law; however, counter notiﬁcations are reviewed by YouTube for
completeness and to ensure they have a clear explanation for why the uploader believes they have all necessary rights for the
removed video. If we accept the counter notiﬁcation, a copy of the notice is sent to the claimant who requested removal of the
video(s). We accepted fewer than 25% of counter notiﬁcations submitted for removals that occurred during the ﬁrst half of
2022‡. After receiving a counter notiﬁcation, the claimant has 10 business days to provide evidence they’ve initiated a court
action to keep the content down, otherwise we will reinstate the content. The 10 business day limit and requirement of court
actions serve to balance the intellectual property interests of rightsholders with the free expression interests of uploaders,
while facilitating the resolution of legal disputes through an appropriate authority (such as a court).


 t.                       Possible responses by YouTube to a copyright counter notiﬁcation, with examples
 Forwarded: YouTube will forward a counter notiﬁcation to the rightsholder who             Examples:
 originally requested removal of the content only if it meets all legal requirements and   A YouTube creator submits a counter notiﬁcation because they created all of their own
 clearly explains the counter notiﬁer's right to use the content.                          content for their video, including visuals and music.

                                                                                           A video was removed for use of a company's promotional poster, but the creator asserts
                                                                                           that they used it under a copyright exception to review the company's product.

 Not Forwarded: YouTube rejects counter notiﬁcations when they either don't meet           Examples:
 all legal requirements, or they don't explain the counter notiﬁer's right to use the      An individual explains their reason for their counter notiﬁcation as "I gave credit to the
 content.                                                                                  copyright owner", which is not equivalent to having permission.

                                                                                           A counter notiﬁcation is missing legally required details like the submitter's address
                                                                                           (needed if the rightsholder decides to ﬁle a lawsuit against the counter notiﬁer).

 Other: In some cases, we hold a request for further review, send a one-off response,      Examples:
 or follow a slightly different process. In these situations, we've categorized them as    A video was already reinstated outside of the counter notiﬁcation process.
 'Other.' We also categorize as 'Other' when we have inconclusive or insuﬃcient data.




Exhibit 2.4 — % Counter notiﬁcations received                                                     Exhibit 2.5 — Counter notiﬁcation responses
This represents the % copyright removal requests submitted in each tool,                          This chart shows the video-level result of each counter notiﬁcation
where the uploader had responded with a counter notiﬁcation asserting                             submitted against removals requested in the ﬁrst half of 2022‡.
that they do have the right to keep the video up‡.



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Content ID claim resolution
We offer a number of methods for uploaders to address Content ID claims they receive. As of March 2021, uploaders are
notiﬁed through our Checks functionality during the video upload process whether there is material in their video that may result
in a Content ID claim.* Before they publish the video, they may edit out** the content or use the dispute process described below.
These options are also available after a video is published and claimed.

If uploaders believe that their use of claimed content is valid, they can ﬁle a dispute for the claimant to review. This dispute
process is a routine part of a healthy Content ID ecosystem, and provides multiple opportunities for both sides to exchange their
views, as claimants and uploaders are almost always in the best position to work out between themselves who has the rights to
use copyrighted material. For example, there could be complex licensing issues between 2 parties, or they could be located in
countries with different laws governing copyright exceptions.

When a claimant receives a dispute, they can respond either by releasing the claim or upholding it. If they don’t respond within
30 days, the dispute expires and the claim is automatically released. However, if they choose to uphold the claim, the uploader
can ﬁle an appeal, which claimants can respond to by releasing the claim or issuing a legal removal request. If a video is
removed, uploaders can pursue additional remediation by ﬁling a counter notiﬁcation or seeking a retraction from the claimant.

Of the more than 750 million Content ID claims made in the ﬁrst half of 2022, fewer than 1% have been disputed‡. Over 55% of
those disputes resolved in favor of the uploader, because claimants either voluntarily released the claim or did not respond
within the 30-day window, resulting in the claim’s release‡. So although disputes are rare, when they do take place, our process
provides real recourse for uploaders who believe they have the right to use claimed content.



Total Content ID claims


757,993,607
Total # of Content ID claims made in the ﬁrst half of 2022

Exhibit 2.6 — Total Content ID claims vs total disputes
This chart shows the total number of Content ID claims, and the
proportion of those claims that are disputed by the uploader.

Claimants have 30 days to review the dispute and decide whether
to release the claim, uphold the claim, or issue a removal request.
If they don’t respond within 30 days, the claim expires.




Total number of disputes


3,690,786
Total # of disputes of claims above‡




*
    https://support.google.com/youtube/thread/102365314
**
     https://support.google.com/youtube/answer/2902117                                    YouTube Copyright Transparency Report H1
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Exhibit 2.7 — Resolution of disputes
If the claimant chooses to uphold their claim or ﬁle a copyright
removal request in response to a dispute, the dispute is considered
to have resolved in favor of the claimant.

Alternatively, after receiving a dispute the claimant may choose to
release the claim, or may allow the claim to expire after 30 days. In
either case, the claim is removed from the video and the dispute is
considered to have resolved in favor of the uploader.




Copyright removals after disputes


24,931
Total # copyright removals originating from the disputes above‡

If a claimant upholds their claim after the uploader has                       At this stage, the ownership issue has exited the Content ID
disputed, the uploader can appeal that decision. At this                       claim and dispute system built by YouTube, and enters the
point the claimant can no longer re-assert their Content                       legal removal and remediation process deﬁned by the DMCA
ID claim, and must instead choose to either release the                        and similar applicable laws.
claim or ﬁle a legal copyright removal request.
Additionally, in some cases, disputes may directly result
in a copyright removal request.



Counter notiﬁcations


3,100
Total # of counter notiﬁcations received against the
copyright removals above‡

Exhibit 2.8 — Counter notiﬁcations received
As is the case with all copyright removal requests received by
YouTube, uploaders have the ability to ﬁle a counter notiﬁcation
in response to the removals above, which is a legal request for
YouTube to reinstate a video.

If we receive a valid counter notiﬁcation the claimant will have
10 business days to provide evidence that they’ve initiated a
court action to keep the content down. (see below)




Lawsuits


<1%
Counter notiﬁcations above resulted in a lawsuit‡
Some claims ultimately have to be adjudicated by a court if the claimant and
uploader still disagree after going through our robust dispute and counter
notiﬁcation processes. As shown, of the 750 million claims we started with,
we're notiﬁed of very few that result in a lawsuit.


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Our Tools Are Cutting Edge
We’ve invested hundreds of millions of dollars to develop powerful tools to help rightsholders manage their content on
YouTube. We’ve also accumulated over a decade of learnings on how to best balance the needs of rightsholders and creators,
and continue to iterate on our tools accordingly.

The date range for the data in this report is January 2022 through June 2022. A full data collection methodology is included at the end of the report.




          Key points
                                  Content ID’s systems automatically detect potential infringement, and additionally some rightsholders can

          99%                     manually search for and claim content not automatically detected. Over 99% of Content ID claims from the
                                  ﬁrst half of 2022 were made through automated detection, with partners’ usage of manual options being
         Content ID claims
          that are made
                                  exceedingly rare (fewer than 0.5% of total claims.)
           automatically
                                  When partners do make manual claims on videos not detected by our systems, uploaders are more likely to
                                  dispute the claim’s validity (fewer than 0.5% of automated claims from the ﬁrst half of 2022 were disputed,
                                  vs. over 1% for manual claims‡).




Based on reference ﬁles provided by Content ID partners, YouTube creates digital "ﬁngerprints" for the copyright owner's
works, and then conducts automated scans of the platform to determine when content in an uploaded video matches the
reference content. When a match is found, Content ID automatically claims the content. Because of continued investment in
our matching technology, over 99% of all claims made by Content ID in the ﬁrst half of 2022 were automatic.

Despite the power of technology, there are some cases where Content ID fails to identify a match with a user video. This can
be due to uploaders’ efforts to evade Content ID, or due to the ﬂeeting use of the copyrighted work. For videos missed by
automated identiﬁcation, many Content ID partners have the ability to issue claims manually. While this tool covers an
important gap, it accounted for fewer than 0.5% of Content ID claims made in the ﬁrst half of 2022. For music rightsholders in
particular, the automation rate is even higher. Finally, all channels on YouTube also have access to our copyright removal
webform to request removal of any content not captured by another tool to which they have access.

We’ve spent years tuning our automatic tools to automatically detect reuse of licensed content when appropriate. That said,
it’s impossible for matching technology to take into account complex legal considerations like fair use, fair dealing, or other
copyright exceptions. Despite that, claims made manually by partners are more than twice as likely to result in a dispute than
claims made automatically.




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Exhibit 3.1 — Automated vs. Manual Content ID claims                                                     Exhibit 3.2 — % Disputes on Automated vs. Manual Content ID claims
The exhibit above shows the number of Content ID claims that were made                                   This exhibit shows the % of claims from Exhibit 3.1 that have been
by automated systems vs. those that were made using manual tools.                                        disputed‡, divided between whether or not the claim was made by
                                                                                                         Content ID’s automated systems, or was made by a rightsholder using
                                                                                                         Content ID’s manual claiming feature.




Tackling new challenges by continuing to reﬁne our tools
Whether it be fans making reaction videos, aspiring musicians singing covers, or pirates attempting to re-stream a
championship soccer game, we understand that there are countless scenarios where rightsholders need a tool that is
powerful enough to quickly detect reuse and apply the appropriate policy.

Unfortunately, some individual channels attempt to circumvent the system by transforming the content they upload. This
can take many forms, from shifting the pitch of audio, to altering the color, orientation, or surroundings of a video. Below are
some examples of the types of manipulations channels engage in.




                         Original                                               Flipped / Mirrored                                                     Framed




                     Color shifted                                            Aspect ratio change                                                  Light effects


Content ID’s match technology must continually adapt to such efforts, without sacriﬁcing its precision. In other words, in
the effort to locate transformed copies of a given work, it cannot extrapolate so far that it begins to inaccurately sweep in
similar works.



For more information about YouTube's approach to rights management, please visit youtube.com/howyoutubeworks.

All data in this report is collected between January 2022 through June 2022, unless otherwise annotated as below:
† Data reﬂecting a 'snapshot' in June 2022: Some data, such as 'number of rightsholders with access to Copyright Match Tool' can only be reported as a snapshot of a single point in time.
For these, we have chosen to reﬂect the data at the end of H1 2022, the reporting period covered in this report.

‡ Data reﬂecting a 'snapshot' in October, 2022: Some data, like rate of counter notiﬁcations and Content ID disputes, look at "trailing" events. We start with the set of claims or removals
made during H1 2022, but disputes and counter notiﬁcations continue to accrue after that period because they can be made at any time. For instance, a claim made on June 30, 2022
may have a dispute made on September 1st, 2022. For these data points, we have chosen to take a snapshot 3 months after the end of H1 2022 in order to provide a more complete
picture.

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